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                               Defendant


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(name of person to be arrested)         &KULVWLQH 3ULROD                                                                                     
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u 3UREDWLRQ9LRODWLRQ3HWLWLRQ                  u 6XSHUYLVHG5HOHDVH9LRODWLRQ3HWLWLRQ       u 9LRODWLRQ1RWLFH          u 2UGHURIWKH&RXUW

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DW (city and state)                                               

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                            Defendant(s)


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7HOHSKRQH VSHFLI\UHOLDEOHHOHFWURQLFPHDQV                                               G. Michael Harvey
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PHHWLQJLQVHSDUDWHFKDPEHUVRIWKH&DSLWROWRFHUWLI\WKHYRWHFRXQWRIWKH(OHFWRUDO&ROOHJHRI

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H[WHULRURIWKH86&DSLWROEXLOGLQJDQG86&DSLWRO3ROLFHZHUHSUHVHQWDQGDWWHPSWLQJWRNHHS

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             $W DSSUR[LPDWHO\  SP FHUWDLQ LQGLYLGXDOV LQ WKH FURZG IRUFHG WKHLU ZD\

WKURXJK XS DQG RYHU WKH EDUULFDGHV DQG RIILFHUV RI WKH 86 &DSLWRO 3ROLFH DQG WKH FURZG

DGYDQFHGWRWKHH[WHULRUIDoDGHRIWKHEXLOGLQJ$WVXFKWLPHWKHMRLQWVHVVLRQZDVVWLOOXQGHUZD\

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86&DSLWROLQFOXGLQJE\EUHDNLQJZLQGRZV6KRUWO\WKHUHDIWHUPHPEHUVRIWKH8QLWHG6WDWHV

+RXVHRI5HSUHVHQWDWLYHVDQG8QLWHG6WDWHV6HQDWHLQFOXGLQJWKH3UHVLGHQWRIWKH6HQDWH9LFH

3UHVLGHQW 3HQFH ZHUH LQVWUXFWHG WR²DQG GLG²HYDFXDWH WKH FKDPEHUV $FFRUGLQJO\ WKH MRLQW

VHVVLRQRIWKH8QLWHG6WDWHV&RQJUHVVZDVHIIHFWLYHO\VXVSHQGHGXQWLODSSUR[LPDWHO\SP

             'XULQJQDWLRQDOQHZVFRYHUDJHRIWKHDIRUHPHQWLRQHGHYHQWVYLGHRIRRWDJHZKLFK

DSSHDUHGWREHFDSWXUHGRQPRELOHGHYLFHVRISHUVRQVSUHVHQWRQWKHVFHQHGHSLFWHGHYLGHQFHRI

VFRUHVRILQGLYLGXDOVLQVLGHWKH86&DSLWROEXLOGLQJZLWKRXWDXWKRULW\WREHWKHUHLQYLRODWLRQRI

)HGHUDOODZV

             8QLWHG6WDWHV&DSLWRO3ROLFH ³&DSLWRO3ROLFH´ OHDUQHGWKDWLQGLYLGXDOVHQWHUHGWKH

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FKDPEHUVWKDWZHUHUHTXLUHGEDVHGRQWKHXQDXWKRUL]HGHQWUDQFH8SRQPDNLQJHQWU\LQGLYLGXDOV

ZHUHREVHUYHGFDUU\LQJVLJQVIODJVEDQQHUVDQGRWKHULWHPVQRWDXWKRUL]HGWREHFDUULHGLQWKH

6HQDWHFKDPEHUV7KHLQGLYLGXDOVJDLQLQJXQDXWKRUL]HGDFFHVVWRWKH6HQDWHFKDPEHUVZHUHDOVR
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             7KRVH SKRWRV DQG HOHFWURQLF LPDJHV ZHUH FLUFXODWHG RQ QXPHURXV QHZV PHGLD

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2XWIRU-XVWLFH´DQGSRLQWLQJDVPDUWFHOOXODUWHOHSKRQHGHYLFHDWDQLQGLYLGXDORFFXS\LQJWKHVHDW

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GHYLFHLQDPDQQHUFRQVLVWHQWZLWKWDNLQJSKRWRJUDSKVRUYLGHRVERWKRIZKLFKDUHFDSDEOHRI

EHLQJ GLJLWDOO\ VWRUHG DQG GLVVHPLQDWHG 7KH IHPDOH ZDV DOVR ZHDULQJ D UHG ZLQWHU FRDW DQG

GLVWLQFWLYHSDQWVWKDWDSSHDUHGWRKDYHWKHQDPH³7UXPS´DQGRWKHUZRUGVZULWWHQRQWKHOHJ

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UHFHLYHGDQDQRQ\PRXVWLSWKDW&KULVWLQH35,2/$ZDVWKHIHPDOHGHSLFWHGLQWKHSKRWRJUDSKV

GHVFULEHGDERYH,QWKH7ZLWWHUSRVWSKRWRJUDSK35,2/$LVVHHQVWDQGLQJLQVLGHWKH866HQDWH

&KDPEHUVKROGLQJDVLJQXQGHURQHDUPDQGPRELOH VPDUW SKRQH6KHLVZHDULQJDUHGFRDWDQG

GLVWLQFWLYHSDQWV7KH7ZLWWHUSRVWDOVRLGHQWLILHG35,2/$DVEHLQJHPSOR\HGZLWKWKH&OHYHODQG

0HWURSROLWDQ6FKRRO'LVWULFW &06' 

             $OVRRQRUDERXW-DQXDU\,LGHQWLILHG35,2/$DV&KULVWLQH0DULH35,2/$

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SKRWRJUDSKVIURP-DQXDU\,UHFHLYHGYHULILFDWLRQIURPWKH&06'WKDW35,2/$UHVLJQHG

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DXWKRUL]HG RQ -DQXDU\   E\ D MXGLFLDO RIILFHU LQ WKH 86 'LVWULFW &RXUW IRU WKH 1RUWKHUQ

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35,2/$¶V UHVLGHQFH DQG UHFRYHUHG D ODSWRS FRPSXWHU WZR GHVNWRS FRPSXWHUV VHYHUDO WKXPE
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            'XULQJWKHVHDUFK35,2/$GLUHFWHGDJHQWVWRWKHNLWFKHQZKHUHVKHJDYHWKHPWKH

DERYHLGHQWLILHGL3KRQHDQGFRQILUPHGLWZDVKHUV6XEVHTXHQWIRUHQVLFH[DPLQDWLRQFRQILUPHG

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            'XULQJDVXEVHTXHQWVHDUFKRI35,2/$¶V$SSOHL3KRQHRQRUDERXW-DQXDU\

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WKLVLQYHVWLJDWLRQWRGDWH,EHOLHYHWKDWDWQRWLPHRQRUEHIRUH-DQXDU\ZDV35,2/$

JUDQWHG SHUPLVVLRQ RU DXWKRUL]HG E\ UXOH WR HQWHU RU UHPDLQ RQ WKH IORRU RI HLWKHU +RXVH RI

&RQJUHVVQRUGLGVKHDWDQ\WLPHKDYHDXWKRUL]DWLRQWRDVVHPEOHGLVSOD\IODJVRUSDUDGHRQWKH

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                                                              5:04 pm Jan 14 2021
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                                                             NorthernDistrictofOhio
                                                             Cleveland
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AO 98 (Rev. 12/11) Appearance Bond



                                      UNITED STATES DISTRICT COURT                                                 FILED
                                                                     for the
                                                                                                                5:02 pm Jan 14 2021
                                                          Northern District of Ohio                            ClerkU.S.DistrictCourt
                   United States of America                              )                                     NorthernDistrictofOhio
                                 v.                                      )                                     Cleveland
                                                                         )       Case No.          1:21MJ9021-WHB-1
                     CHRISTINE PRIOLA
                                                                         )
                             Defendant                                   )

                                                          APPEARANCE BOND

                                                          Defendant’s Agreement
I,                    CHRISTINE PRIOLA                           (defendant), agree to follow every order of this court, or any
court that considers this case, and I further agree that this bond may be forfeited if I fail:
             ( X )        to appear for court proceedings;
             ( X )        if convicted, to surrender to serve a sentence that the court may impose; or
             ( X )        to comply with all conditions set forth in the Order Setting Conditions of Release.

                                                                 Type of Bond
(     ) (1) This is a personal recognizance bond.

( ; ) (2) This is an unsecured bond of $                                              .

(     ) (3) This is a secured bond of $                                                , secured by:

        (      ) (a) $                                , in cash deposited with the court.

        (      ) (b) the agreement of the defendant and each surety to forfeit the following cash or other property
                 (describe the cash or other property, including claims on it – such as a lien, mortgage, or loan – and attach proof of
                  ownership and value):

                                                                                                                                          .
                  If this bond is secured by real property, documents to protect the secured interest may be filed of record.

        (      ) (c) a bail bond with a solvent surety (attach a copy of the bail bond, or describe it and identify the surety):


                                                                                                                                          .

                                                    Forfeiture or Release of the Bond

Forfeiture of the Bond. This appearance bond may be forfeited if the defendant does not comply with the above
agreement. The court may immediately order the amount of the bond surrendered to the United States, including the
security for the bond, if the defendant does not comply with the agreement. At the request of the United States, the court
may order a judgment of forfeiture against the defendant and each surety for the entire amount of the bond, including
interest and costs.
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1/14/2021                                s/Stacey Swonger, Deputy Clerk



1/14/2021                                s/Jonathan D. Greenberg, U.S. Magistrate Judge
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AO 467 (Rev. 01/09) Order Requiring a Defendant to Appear in the District Where Charges are Pending and Transferring Bail


                                        UNITED STATES DISTRICT COURT
                                                                           for the
                                                           NorthernDistrict
                                                       __________   Districtofof__________
                                                                                 Ohio

                   United States of America                                    )
                              v.                                               )       Case No. 1:21MJ9021-WHB-1
                                                                               )
                         Christine Priola                                      )       Charging District:          District of Columbia
                              Defendant                                        )       Charging District’s Case No. 21 MJ 53


                      ORDER REQUIRING A DEFENDANT TO APPEAR IN THE DISTRICT
                        WHERE CHARGES ARE PENDING AND TRANSFERRING BAIL

        After a hearing in this court, the defendant is released from custody and ordered to appear in the district court
where the charges are pending to answer those charges. If the time to appear in that court has not yet been set, the
defendant must appear when notified to do so. Otherwise, the time and place to appear in that court are:

Place:                                                                                 Courtroom No.:
                                                                                       Date and Time:

        The clerk is ordered to transfer any bail deposited in the registry of this court to the clerk of the court where the
charges are pending.


Date:            01/15/2021                                                                        s/Jonathan D. Greenberg
                                                                                                           Judge’s signature

                                                                               Jonathan D. Greenberg, United States Magistrate Judge
                                                                                                        Printed name and title
1/20/2021             Case 1:21-mj-00053-GMH Document   8 District
                                                 Northern   Filed     01/17/21 Page 17 of 19
                                                                   of Ohio


                                     Query       Reports         Utilities    Help    What's New     Log Out



                                                                                                                          Termed

                                  U.S. District Court
                          Northern District of Ohio (Cleveland)
              CRIMINAL DOCKET FOR CASE #: 1:21-mj-09021-WHB All Defendants


 Case title: United States of America v. Priola                                      Date Filed: 01/14/2021
 Other court case number: 21 MJ 53 United States District Court                      Date Terminated: 01/15/2021
                             District of Columbia


 Assigned to: Magistrate Judge William H.
 Baughman, Jr

 Defendant (1)
 Christine Priola                                                    represented by Khalida A. Sims
 TERMINATED: 01/15/2021                                                             Office of the Federal Public Defender -
                                                                                    Cleveland
                                                                                    Northern District of Ohio
                                                                                    750 Skylight Office Tower
                                                                                    1660 West Second Street
                                                                                    Cleveland, OH 44113
                                                                                    216-522-4856
                                                                                    Fax: 216-522-4321
                                                                                    Email: khalida_sims@fd.org
                                                                                    LEAD ATTORNEY
                                                                                    ATTORNEY TO BE NOTICED
                                                                                    Designation: Public Defender or
                                                                                    Community Defender Appointment
                                                                                    Bar Status: Govt

                                                                                     Timothy C. Ivey
                                                                                     Office of the Federal Public Defender -
                                                                                     Cleveland
                                                                                     Northern District of Ohio
                                                                                     750 Skylight Office Tower
                                                                                     1660 West Second Street
                                                                                     Cleveland, OH 44113
                                                                                     216-522-4856
                                                                                     Fax: 216-522-4321
                                                                                     Email: timothy_ivey@fd.org
                                                                                     LEAD ATTORNEY
                                                                                     ATTORNEY TO BE NOTICED
                                                                                     Designation: Public Defender or
                                                                                     Community Defender Appointment
                                                                                     Bar Status: Active


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1/20/2021      Case 1:21-mj-00053-GMH Document   8 District
                                          Northern   Filed     01/17/21 Page 18 of 19
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 Pending Counts                                                Disposition
                                     Query       Reports         Utilities    Help    What's New    Log Out
 None

 Highest Offense Level (Opening)
 None

 Terminated Counts                                                                   Disposition
 None

 Highest Offense Level (Terminated)
 None

 Complaints                                                                          Disposition
 18:1752(a)(1) - Knowingly entering or
 remaining in any restricted building or
 grounds without lawful authority 40:5104(e)
 (2)(A) and (D) - Violent entry and
 disorderly conduct on Capitol grounds
 40:5104(f) - Unlawful activities on Capitol
 grounds, parades, assemblages and display
 of flags



 Plaintiff
 United States of America                                            represented by Duncan T. Brown
                                                                                    Office of the U.S. Attorney - Cleveland
                                                                                    Northern District of Ohio
                                                                                    Ste. 400
                                                                                    801 Superior Avenue, W
                                                                                    Cleveland, OH 44113
                                                                                    216-622-3933
                                                                                    Fax: 216-685-2378
                                                                                    Email: duncan.brown@usdoj.gov
                                                                                    LEAD ATTORNEY
                                                                                    ATTORNEY TO BE NOTICED
                                                                                    Designation: Retained
                                                                                    Bar Status: Govt
  Email All Attorneys
  Email All Attorneys and Additional Recipients


  Date Filed           # Docket Text
  01/14/2021                Arrest (Rule 40) of Christine Priola (1) on 1/14/21. (D,Ky) (Entered: 01/14/2021)
  01/14/2021           1 Rule 40 Warrant received as to Christine Priola (1). (Attachments: # 1 complaint and
                         affidavit)(D,Ky) (Entered: 01/14/2021)
  01/14/2021                IMPORTANT: Notice [non-document] as to Christine Priola (1). Initial Appearance on
                            rule 5 hearing set for 1/14/2021 at 02:30 PM to be held by video conference (Cleveland)
                            before Magistrate Judge William H. Baughman Jr. (D,Ky) (Entered: 01/14/2021)
https://ohnd-ecf.sso.dcn/cgi-bin/DktRpt.pl?719842763471323-L_1_0-1                                                            2/3
1/20/2021             Case 1:21-mj-00053-GMH Document   8 District
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  01/14/2021                Minutes    of proceedings
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                                                           Utilities    before Magistrate
                                                                        Help    What's NewJudge  Jonathan
                                                                                               Log  Out    D. Greenberg.
                            Initial Appearance in Rule 5 Proceedings as to Christine Priola (1) held on 1/14/2021.
                            AUSAs Duncan Brown and Jolie Zimmerman present for the government. Attorneys
                            Timothy C. Ivey and Khalida A. Sims present and appointed to represent defendant. As a
                            result of the COVID-19 pandemic, all parties appeared by, and consented to, proceeding via
                            videoconference. Pursuant to the Due Process Protections Act, the Court reminds the
                            government of its obligations under Brady v. Maryland, 373 U.S. 83 (1963), to disclose
                            evidence favorable to the defendant and material to the defendant's guilt or punishment. The
                            government is ordered to comply with Brady and its progeny. The failure to do so in a
                            timely manner may result in consequences, including dismissal of the indictment or
                            information, exclusion of government evidence or witnesses, adverse jury instructions,
                            dismissal of charges, contempt proceedings, sanctions by the Court, or any other remedy
                            that is just under the circumstances. Defendant waives identity hearing. Defendant waives
                            preliminary hearing in this district, requesting a preliminary hearing in the charging district.
                            The government concurs with bond recommendation of Pretrial Services. Bond set at
                            $20,000 unsecured with standard/special conditions. Defendant consents/authorizes her
                            counsel to sign financial affidavit, Rule 5 waiver, bond, and order setting conditions of
                            release on her behalf. Court directs counsel for defendant to submit executed documents
                            forthwith. (Court Reporter/ECRO: B. Laster; Pretrial Officer: Julie Gray) (Time: 22 mins.)
                            (S,S) (Entered: 01/14/2021)
  01/14/2021           3 Order regarding use of video conference/teleconferencing as to Christine Priola (1). Signed
                         by Magistrate Judge Jonathan D. Greenberg on 1/14/2021. (S,S) (Entered: 01/14/2021)
  01/14/2021                Order [non-document] Appointing Federal Public Defender Timothy C. Ivey,Khalida A.
                            Sims for Christine Priola. The Federal Public Defender is reminded of counsel's obligation
                            to report significant changes in defendant's employment or financial circumstances
                            sufficient to enable defendant to pay, in whole or in part, for legal representation. CJA Plan,
                            Part IV (D)(2). Magistrate Judge Jonathan D. Greenberg on 1/14/2021. (S,S) (Entered:
                            01/14/2021)
  01/14/2021           4 CJA 23 Financial Affidavit by Christine Priola (1). (S,S) (Entered: 01/14/2021)
  01/14/2021           5 Waiver of Rule 5 & 5.1 Hearings by Christine Priola (1). (S,S) (Entered: 01/14/2021)
  01/14/2021           6 Appearance Bond Entered as to Christine Priola (1) in amount of $ 20,000, unsecured. (S,S)
                         (Entered: 01/14/2021)
  01/14/2021           7 Order Setting Conditions of Release as to Christine Priola (1). Signed by Magistrate Judge
                         Jonathan D. Greenberg on 1/14/2021. (S,S) (Entered: 01/14/2021)
  01/15/2021           8 Warrant of Removal/Order Requiring Defendant to Appear in the District of Columbia
                         Where Charges are Pending Issued as to Christine Priola (1) by Magistrate Judge Jonathan
                         D. Greenberg. (S,S) (Entered: 01/15/2021)
  01/15/2021                Notice to District of Columbia of a Rule 5 Initial Appearance as to Christine Priola (1).
                            Your case number is: 21 MJ 53. Using your PACER account, you may retrieve the docket
                            sheet and any text-only entry via the case number link. The following document link(s) is
                            also provided: 3 Order Regarding Use of Video Conferencing/Teleconferencing, 8 Warrant
                            of Removal Issued, 6 Bond, 7 Order Setting Conditions of Release, 4 Financial Affidavit -
                            CJA23, 1 Rule 40 Warrant from Another District, 5 Waiver of Rule 5(c)(3) Hearing. If you
                            require certified copies of any documents, please send a request to
                            ohndml_InterDistrictTransfer@ohnd.uscourts.gov. If you wish to designate a different email
                            address for future transfers, send your request to
                            InterDistrictTransfer_TXND@txnd.uscourts.gov. (S,S) (Entered: 01/15/2021)


https://ohnd-ecf.sso.dcn/cgi-bin/DktRpt.pl?719842763471323-L_1_0-1                                                            3/3
